        CASE 0:16-cr-00340-MJD-BRT Doc. 525 Filed 11/02/20 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


 United States of America,                                 Crim. No. 16-340 (MJD/BRT)

                       Plaintiff,

 v.
                                                                ORDER
 Okwuchukwu Emmanuel
 Jidoefor (4),

                       Defendant.


Chelsea A. Walcker, Esq., and David J. MacLaughlin, Esq., Assistant United States
Attorneys, counsel for Plaintiff.

Robert D. Richman, Esq., counsel for Defendant.


       This matter is before the Court on Defendant Okwuchukwu Emmanuel Jidoefor’s

Pro Se Motion for Substitute Counsel. (Doc. No. 515.) Therein, Defendant asserts that he

should be assigned substitute counsel because his current defense counsel has been

ineffective in representing his interests. The Government filed a memorandum opposing,

among other things, that motion. (Doc. No. 522.) The Court held a hearing on this motion

on October 28, 2020. (See Doc. No. 524.) At the hearing, the Court conducted an ex parte

examination of Defendant and his defense counsel concerning the circumstances of

defense counsel’s representation. At that time, Defendant additionally alleged that

substitute counsel is necessary because his current defense counsel has a conflict of

interest, and the Court accepted additional documents submitted by Defendant. (See Doc.

No. 523.) The Court concluded the ex parte examination and informed the parties that it
        CASE 0:16-cr-00340-MJD-BRT Doc. 525 Filed 11/02/20 Page 2 of 3




would take Defendant’s motion under advisement. The Court also informed the

Government that defense counsel acknowledged a breakdown in communications, and

for that reason only, joined in Defendant’s motion for appointment of substitute counsel.

       To succeed on a motion for substitution of counsel, a criminal defendant must

show “justifiable dissatisfaction,” such as “a conflict of interest, an irreconcilable

conflict, or a complete breakdown in communication between the attorney and the

defendant.” United States v. Jones, 795 F.3d 791, 796 (8th Cir. 2015); see also United

States v. Taylor, 652 F.3d 905, 908 (8th Cir. 2011). “When faced with a motion to

appoint substitute counsel, the district court must balance several factors, including the

need to ensure effective legal representation, the need to thwart abusive delay tactics, and

the reality that a person accused of crime is often genuinely unhappy with an appointed

counsel who is nonetheless doing a good job.” United States v. Kelley, 774 F.3d 434, 438

(8th Cir. 2014).

       Here, the Court finds that there is no evidence that defense counsel has been

ineffective. Specifically, the Court notes that defense counsel has met with Defendant via

Zoom and telephone on many occasions, has returned Defendant’s telephone calls, and

has otherwise actively worked on behalf of Defendant. Nor does the Court find a conflict

of interest. After hearing Defendant’s arguments during the ex parte examination, defense

counsel stated that he was willing and able to serve as Defendant’s counsel, but that

Defendant’s feelings about him—even if unsupported—would make it difficult to

communicate moving forward. Counsel thus joined Defendant’s motion for that limited

reason. Accordingly, while the Court finds no evidence that defense counsel has been


                                              2
        CASE 0:16-cr-00340-MJD-BRT Doc. 525 Filed 11/02/20 Page 3 of 3




ineffective or that a conflict of interest exists, the Court nonetheless finds that there is a

complete breakdown in communication between defense counsel and Defendant.

Substitution of defense counsel is therefore warranted.

       Accordingly, IT IS HEREBY ORDERED that:

       1.     Defendant’s Pro Se Motion for Substitute Counsel (Doc. No. 515) is

GRANTED IN PART and DENIED IN PART;

       2.     Substitute counsel shall be appointed as soon as possible to continue the

representation of Defendant before the Court; and

       3.     Defendant’s letter request seeking substitute counsel (Doc No. 514) is

DENIED as moot.




Date: November 2, 2020
                                                           s/ Becky R. Thorson
                                                           BECKY R. THORSON
                                                           United States Magistrate Judge




                                               3
